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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


            v.                                        ORDER
                                                    09-CR-55A

GLANCE ROSS,
                               Defendant.




      This case was referred to Magistrate Judge H. Kenneth Schroeder, Jr.,

pursuant to 28 U.S.C. § 636(b)(1). On February 12, 2010, defendant filed a

motion to dismiss counts 3 and 4 of the indictment [Dkt. No. 89]. On May 14,

2010, defendant filed a motion to suppress evidence obtained pursuant to

electronic surveillance [Dkt. No. 102] and also a motion to suppress evidence

obtained from a search of a safe deposit box [Dkt. No. 101].

      On December 14, 2010, Magistrate Judge Schroeder filed a Report and

Recommendation, recommending that defendant's motion to suppress evidence

obtained pursuant to electronic surveillance [Dkt. No. 102] be denied. On

January 7, 2011, Magistrate Judge Schroeder filed a Report and Recommenda-

tion, recommending that defendant's motion to suppress search of a safe deposit

box [Dkt. No. 101] be denied. On January 7, 2011 Magistrate Judge Schroeder

also filed a Report and Recommendation recommending that defendant's motion

to dismiss counts 3 and 4 of the indictment [Dkt. No. 89] be denied.
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      Defendant filed objections to the Reports and Recommendations and the

government filed responses thereto. Oral argument on the objections was held

on May 6, 2011.

      Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo

determination of those portions of the Report and Recommendations to which

objections have been made. Upon a de novo review of the Report and

Recommendations, and after reviewing the submissions and hearing argument

from the parties, the Court adopts the proposed findings of the Report and

Recommendations.

      Accordingly, for the reasons set forth in Magistrate Judge Schroeder's

Report and Recommendations, defendant's motion to suppress evidence obtained

pursuant to electronic surveillance [Dkt. No. 102] is denied; defendant's motion to

suppress evidence obtained from a search of a safe deposit box [Dkt. No. 101] is

denied; and defendant's motion to dismiss counts 3 and 4 of the indictment [Dkt.

No. 89] is denied.


      SO ORDERED.

                                      s/ Richard J. Arcara
                                      HONORABLE RICHARD J. ARCARA
                                      UNITED STATES DISTRICT JUDGE

DATED: May 31, 2011




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